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                     UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                Eastern Division

Kimberly Diane Mohammad
                                   Plaintiff,
v.                                                  Case No.: 1:16−cv−10117
                                                    Honorable Harry D. Leinenweber
Comenity Bank
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 9, 2017:


       MINUTE entry before the Honorable Harry D. Leinenweber:Cause dismissed with
prejudice, pursuant to the stipulation of dismissal. Status hearing stricken.Civil case
terminated. Mailed notice(wp, )




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